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FoR THE WESTERN I)ISTRICT oF TENNESSEE 05 JUN l 7 PH 3. 30
WESTERN DIvlsloN '

ROBERT F[_ [`j§
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UNITED STATES OF AMERICA, )
Plaintiff, )
)

vs. ) Cr. No. 05-20206-D
)
)
REGINALD SELLERS, )
Defendant. )

 

ORDER ON MOTION TO ALLOW SUBSTITUTION OF COUNSEL

 

'Ihis matter came on to be heard upon motion of the Defendant to allow William D. Massey
and Lorna S. McClusky, of The LaW Oche of Massey McClusky, to be substituted as counsel for
MI. Sellers in place of the Federal Defender. For good cause shown, the motion Is GRANTED. The
Federal Defender is relieved of obligation in the representation of Mr. Reginald Sellers and Mr.
Massey and Ms. McClusky, of The Law Office of Massey McClusky, are allowed to substitute as
counsel for Mr. Sellers.

IT IS SO ORDERED THIS f 7 #`DAY OF JUNE, 2005.

 

Ju ge, United States District Couxt

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UNITED STATES DISTRICT COURT - WESTERN DISTRICT OF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 23 in
case 2:05-CR-20206 Was distributed by faX, mail, or direct printing on
June 20, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

